940 F.2d 659
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Paul C. COOK, on Behalf of Calvin A. COOK, (SSN:374-24-4814) Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 90-2245.
    United States Court of Appeals, Sixth Circuit.
    Aug. 1, 1991.
    
      Before RALPH B. GUY, Jr. and RYAN, Circuit Judges, and KRUPANSKY, Senior Circuit Judge.
    
    ORDER
    
      1
      Plaintiff appeals the district court's judgment in his action seeking judicial review of a decision the Secretary of Health and Human Services (the "Secretary"), denying his claim for widower's disabilities benefits.  Plaintiff and the Secretary now jointly move to remand this action for further administrative action.
    
    
      2
      The Commissioner of Social Security has issued a new Social Security Ruling for determining disability of widows, widowers and surviving divorced spouses that is applicable to this case.  See Social Security Ruling 91-3p, Title II:  Determining Entitlement to Disability Benefits for Months Prior to January 1991 for Widows, Widowers, and Surviving Divorced Spouses Claims, 56 Fed.Reg. 23,589 (1991).  Upon consideration of the joint motion, we conclude that a remand to the Social Security Administration is warranted.  See 42 U.S.C. Sec. 405(g).
    
    
      3
      It therefore is ORDERED that the judgment of the district court is VACATED, the joint motion to remand is GRANTED and this action be REMANDED for further administrative proceedings.
    
    